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                                                             "'1a"•T~•Jr.
                  IN THE UNITED STATES DISTRICT COURT             ~"tlfct 'ff ., C4rt1
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA                           °'~
                          EASTERN DIVISION                                        ~

                                 No.   4-:14--Gfl--le~ FL-(3(\'1
UNITED STATES OF AMERICA                )
                                        )
      v.                                )      INDICTMENT
                                        )
JALIEK MONTREAL GRANT                   )
TIMARCUS LAVONNTE BRITT                 )

      The Grand Jury charges that:

                                    COUNT ONE

      At all times material to Count One of the Indictment, the Speedway store

located at 3202 East 10th Street in Greenville, North Carolina, was engaged in a

commercial retail business in interstate and foreign commerce and in an industry

which affects interstate and foreign commerce.

      On or about July 11, 2023, in the Eastern District of North Carolina, the

defendants, JALIEK MONTREAL GRANT and TIMARCUS LAVONNTE BRITT, did

unlawfully obstruct, delay, and affect, and attempt to obstruct, delay, and affect,

commerce, and did aid and abet each other and others both known and unknown to

the Grand Jury in so doing, as set forth in Title 18, United States Code, Section 1951,

and the movement of articles and commodities in such commerce, by robbery, that is,

unlawfully taking and obtaining personal property from the person and in the

presence of another, against that person's will by means of actual and threatened

force, as set forth in Title 18, United States Code, Section 1951, of the aforementioned

Speedway store. Such incident constituting a violation of Title 18, United States




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Code, Sections 1951 and 2.

                                        COUNT TWO

       On or about July 11, 2023, in· ·th~ Eastern District of North Carolina , the

defendant, TIMARCUS LAVONNTE BRITT, knowingly used and carried a firearm

during and in relation to a crime of violence for which he may be prosecuted in a court of

the United States, that is, interference with commerce by robbery, in violation of Title

18, United States Code, Section 1951 , as alleged in Count One of this Indictment, and

said firearm was brandished, in violation of Title 18, United States Code, Section

924(c)(l)(A)(ii).

                                      COUNT THREE

       At all times material to Count Three of the Indictment, the Speedway store

located at 5068 NC 33 East in Greenville, North Carolina, was engaged in a

commercial retail business in interstate and foreign commerce and in an industry

which affects interstate and foreign commerce .

       On or about July 11, 2023, in the Eastern District of North Carolina, the

defendants, JALIEK MONTREAL GRANT and TIMARCUS LAVONNTE BRITT, did

unlawfully obstruct, delay, and affect, and attempt to obstruct, delay, and affect,

commerce, and did aid and abet each other and others both known and unknown to

the Grand Jury in so doing, as set forth in Title 18, United States Code , Section 1951,

and the movement of articles and commodities in such commerce, by robbery , that is,

unlawfully taking and obtaining personal property from the person and in the

presence of another, against that person's will by means of actual and threatened

force, as set forth in Title 18, United States Code, Section 1951, of the aforementioned



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Speedway store. Such incident constituting a violation of Title 18, United States

Code, Sections 1951 and 2.

                                       COUNT FOUR

       On or about July 11, 2023, in the Eastern District of North Carolina, the

defendant, TIMARCUS LAVONNTE BRITT, knowingly used and carried a firearm

during and in relation to a crime of violence for which he may be prosecuted in a court of

the United States, that is, interference with commerce by robbery, in violation of Title

18, United States Code, Section 1951, as alleged in Count Three of this Indictment, and

said firearm was brandished, in violation of Title 18, United States Code, Section

924(c)(l)(A)(ii).

                                        COUNT FIVE

       At all times material to Count Five of the Indictment, the Speedway store

located at 304 Washington Street in Williamston, North Carolina, was engaged in a

commercial retail business in interstate and foreign commerce and in an industry

which affects interstate and foreign commerce.

       On or about July 11, 2023, in the Eastern District of North Carolina, the

defendants, JALIEK MONTREAL GRANT and TIMARCUS LAVONNTE BRITT, did

unlawfully obstruct, delay, and affect, and attempt to obstruct, delay, and affect,

commerce, and did aid and abet each other and others both known and unknown to

the Grand Jury in so doing, as set forth in Title 18, United States Code, Section 1951,

and the movement of articles and commodities in such commerce, by robbery, that is,

unlawfully taking and obtaining personal property from the person and in the

presence of another, against that person's will by means of actual and threatened



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force, as set forth in Title 18, United States Code, Section 1951, of the aforementioned

Speedway store. Such incident con stituting a violation of Title 18, United States

Code, Sections 1951 and 2.

                                         COUNT SIX

       On or about July 11, 2023, in the Eastern District of North Carolina, the

defendant, TIMARCUS LAVONNTE BRITT, knowingly used and carried a firearm

during and in relation to a crime of violence for which he may be prosecuted in a court of

the United States, that is, interference with commerce by robbery, in violation of Title

18, United States Code, Section 1951, as alleged in Count Five of this Indictment, and

said firearm was brandished, in violation of Title 18, United States Code, Section

924(c)(l)(A)(ii).

                                       COUNT SEVEN

       At all times material to Count Seve n of the Indictment, the Speedway store

located at 109 West Avenue in Robersonville, North Carolina, was engaged in a

commercia l retail business in interstate and foreign commerce and in an industry

which affects interstate a nd foreign commer ce.

       On or about July 11, 2023, in the Eastern District of North Carolina , the

defendants, JALIEK MONTREAL GRANT and TIMARCUS LAVONNTE BRITT, did

unlawfully obstruct, delay, and affect, and attempt to obstruct, delay, and affect,

commerce, and did aid and abet each other and others both known and unknown to

the Grand Jury in so doing, as set forth in Title 18, United States Code, Section 1951 ,

and the movement of articles and co mmodities in such commerce , by robbery, that is,

unlawfully taking and obtaining personal property from the person and in t h e



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presence of another, against that person's will by means of actual and threatened

force, as set forth in Title 18, United States Code, Section 1951, of the aforementioned

Speedway store. Such incident constituting a violation of Title 18, United States

Code, Sections 1951 and 2.

                                       COUNT EIGHT

       On or about July 11, 2023, in the Eastern District of North Carolina, the

defendant, TIMARCUS LAVONNTE BRITT, knowingly used and carried a firearm

during and in relation to a crime of violence for which he may be prosecuted in a court of

the United States, that is, interference with commerce by robbery, in violation of Title

18, United States Code, Section 1951, as alleged in Count Seven of this Indictment, and

said firearm was brandished, in violation of Title 18, United States Code, Section

924(c)(l)(A)(ii).

                                        COUNT NINE

        On or about July 20, 2023, in the Eastern District of North Carolina, the

defendant, TIMARCUS LAVONNTE BRITT, knowing he had previously been

convicted of a crime punishable by imprisonment for a term exceeding one (1) year,

knowingly possessed a firearm, and the firearm was in and affecting commerce, in

violation of Title 18, United States Code, Sections 922(g)(l) and 924.




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                                   FORFEITURE NOTICE

       Notice is hereby given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction of any offense charged herein constituting "specified unlawful

activity'' (as defined in 18 U.S.C. §§ 1956(c)(7) and 1961(1)), or a conspiracy to commit

such offense, the defendant shall forfeit to the United States, pursuant to 18 U.S.C.

§ 981(a)(l)(C), as made applicable by 28 U.S.C. § 2461(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the said offense.

       Upon conviction of any violation of the Gun Control Act, the National Firearms

Act, or any other offense charged herein that involved or was perpetrated in whole or

in part by the use of firearms or ammunition, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 924(d) and/or 26 U.S.C. § 5872, as made applicable by

28 U.S.C. 2461(c), any and all firearms and ammunition that were involved in or used

in a knowing or willful commission of the offense, or that were intended to be used in

any offense identified in 18 U.S.C. § 924(d)(3), or, pursuant to 18 U.S.C. § 3665, that

were found in the possession or under the immediate control of the defendant at the

time of arrest.

       The forfeitable property includes, but is not limited to, the following:

       Personal Property:

       a) One Glock .40 caliber firearm with serial number AALH063 and related

          ammunition seized on July 20, 2023, during a search warrant at the

          residence ofTIMARCUS LAVONNTE BRI'IT




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      b) One Taurus, Model G3c 9mm firearm with serial number ACG006499 and

         related ammunition seized on July 20, 2023, during a search warrant at the

         residence of TIMARCUS LAVONNTE BRITT

      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.




                                               --

                                         c::
                                               FOREPERSON

                                               Date:~

MICHAEL F. EASLEY, JR.

Unit d Sta; ; :t~              ,/d ~
  MBERLYN. DIXON
Assistant United States Attorney




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